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                                     U.S. DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

JOHN ANTHONY CASTRO,                                Civil Action No. 3:23-cv-02120-MAS-DEA

                      Plaintiff,
                                                    JOINT DISCOVERY PLAN
-vs-

GLENN R. REISER, ESQ. and LOFARO
& REISER, L.L.P.

                      Defendants.


                          PROPOSED JOINT DISCOVERY PLAN

1.    Set forth the name of each attorney appearing, the firm name, address and
telephone number and facsimile number of each, designating the party represented.

 Plaintiff                                         Defendant

  John Anthony Castro, Pro Se                      Jeffrey S. Leonard, Esq.
  12 Park Place                                    Lewis Brisbois Bisgaard &
  Mansfield, TX 76063                              Smith LLP
  (202) 594-4344                                   One Riverfront Plaza, Suite 800
  j.castro@castroandco.com                         Newark, New Jersey 07102
                                                   (973) 792-8740
                                                   jeffrey.leonard@lewisbrisbois.com



2.    Set forth a brief description of the case, including the causes of action and
defenses asserted:

         This matter is a legal malpractice action stemming from Defendants representation
         of Plaintiff and his company Castro & Co., LLC in a lawsuit captioned Thomas
         Komorowski, M.D. and Kristine Komorowski v. Castro & Co. LLC and John
         Anthony Castro, which was filed in the United States District Court, District of New
         Jersey under Case No. 20-cv-10440 (MAS)(DEA). Plaintiff claims that Defendant
         committed legal malpractice by not filing a motion seeking to dismiss the claims
         against him based upon a lack of personal jurisdiction. Defendants position is that
         they were retained only to move to dismiss the Complaint based upon improper
         venue.




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3.       Have settlement discussions taken place? Yes             No    X

         (a)     What was plaintiff’s last demand?

                 (1)   Monetary demand: _________

                 (2)   Non-monetary demand: _ ___

         (b)     What was defendant’s last offer?

                 (1)   Monetary offer:   _

                 (2)   Non-monetary offer:

4.       The parties [have ____X______ have not___________] met pursuant to Fed. R.
         Civ. P. 26(f).

5.       The parties [have       have not              X   ]   exchanged    the   information
         required by Fed. R. Civ. P. 26(a)(1).

         The Parties will exchange the information required by Fed. R. Civ. P. 26(a)(1)
         by March 15, 2024.

6.       Explain any problems in connection with completing the disclosures required by
         Fed. R. Civ. P. 26(a)(1).

         None.

7.       The parties [have           have not          X   ] conducted discovery other than
         the above disclosures. If so, describe.

8.       The Parties jointly propose to the Court the following Discovery Plan:


         (a)     Discovery is needed on the following subjects:

                 (1)   Plaintiff’s claims against Defendants;

                 (2)   Plaintiff’s claims for damages and other relief; and

                 (3)   Defendants’ defenses to Plaintiff’s claims.

         (b)    Discovery [should ______ should not X             ] be conducted in phases or
         be limited to particular issues. Explain.



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         (c)     Proposed schedule:

                 (1)     Fed. R. Civ. P. 26 Disclosures on or before March 15, 2024.

               (2)   E-Discovery conference pursuant to L. Civ. R. 26.1(d): The parties
         shall meet and confer regarding the production of electronic discovery as
         necessary throughout litigation.

               (3)    Service of requests for admission by March 22, 2024 with responses
         due by April 21, 2024.

               (4)     Service of initial written discovery requests (interrogatories and
         requests for production of documents) shall be completed by April 29, 2024 with
         responses due by May 29, 2024.

               (5)    There shall be a maximum of 25 Interrogatories and 20 Requests for
         Production of Documents by each party to each other party.

                 (6)     There shall be a maximum of 5 depositions by each party.

                 (7)     Motions to amend or to add parties shall be filed by June 5, 2024.

                 (8)     Factual discovery shall be completed by July 26, 2024.

                 (9)     Plaintiff’s expert report shall be due no later than August 26, 2024.

                 (10)    Defendant’s expert report shall be due no later than September 23,
         2024.

                 (11)    Expert depositions shall be completed by October 11, 2024.

                 (12)    Dispositive motions shall be served no later than November 11,
         2024.

         (d)     Set forth any special discovery mechanism or procedure requested.

                 None.

         (e)     A pretrial conference may take place on: To be determined by the Court.

         (f)     Trial date: __To be determined by the Court__            ( X     Jury Trial;
                 Non-Jury Trial).

9.       Do you anticipate any special discovery needs (i.e. videotape/telephone
         depositions, problems with out-of-state witnesses or documents, etc.)?
         Yes X No . If so, please explain.


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